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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    DOUGLAS J. BEEVERS, USVI #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    MANOLO REYES
7
8                        IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No.2:12-mj-00085 EFB
                                     )
12                  Plaintiff,       )      STIPULATION AND ORDER
                                     )      TO CONTINUE PRELIMINARY
13        v.                         )      EXAMINATION
                                     )
14   MANOLO REYES,                   )
                                     )      Date: May 18, 2012
15                  Defendant.       )      Time: 2:00 p.m.
                                     )      Judge: Hon. Carolyn K. Delaney
16   _______________________________ )
17
          It   is   hereby   stipulated   between   the   parties,   DAVID   PETERSEN,
18
     Assistant United States Attorney, attorney for plaintiff, and DOUGLAS
19
     BEEVERS, Assistant Federal Defender, attorney for defendant MANOLO REYES,
20
     that the Preliminary Hearing date of April 27, 2012 be vacated and a new
21
     Preliminary Hearing date of May 18, 2012 at 2:00 p.m. be set., pursuant
22
     to Federal Rule of Criminal Procedure 5.1 (d).
23
          Good cause exists to extend the time for the preliminary hearing
24
     within meaning of Rule 5.1 (d) because the Government needs additional
25
     time to complete its initial investigation of the defendant’s alleged
26
     sale of drugs and firearms. In addition, the parties request additional
27
     time to negotiate a pre-indictment resolution to this matter.
28
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1         IT IS STIPULATED that the period from the signing of this Order,               up
2    to and including May 18, 2012 be excluded in computing the time within
3    which trial must commence under the Speedy Trial Act. The parties
4    stipulate and agree that the ends of justice outweigh the best interests
5    of the public and the defendant in a speedy trial pursuant to 18 U.S.C
6    §3161(h)(7)(A)     and   (B)   (ii)   and    (iv)   and   Local   Code   T4   (ongoing
7    preparation of defense counsel).
8
9    Dated:    April 24, 2012                    Respectfully submitted,
10                                               DANIEL BRODERICK
                                                 Federal Defender
11
12                                               /s/ Douglas Beevers
                                                 ________________________
13                                               DOUGLAS BEEVERS
                                                 Assistant Federal Defender
14                                               Attorney for Defendant
                                                 MANOLO REYES
15
16
     Dated: April 24, 2012                       BENJAMIN B. WAGNER
17                                               United States Attorney
18
                                                 /s/ David Petersen
19
                                                 DAVID PETERSEN
20                                               Special Assistant U.S. Attorney
                                                 Attorney for Plaintiff
21
22
                                            ORDER
23
          IT IS HEREBY ORDERED that the Court finds good cause to extend the
24
     Preliminary Hearing from April 27, 2012, to May 18, 2012, at 2:00 p.m.,
25
     pursuant to Federal Rule of Criminal Procedure 5.1 (d). Based upon the
26
     representations and stipulations of the parties, the court finds that time
27
     be excluded under 18 U.S.C §3161(h)(7)(A) and (B) (ii) and (iv) and Local
28
     Code T4 (ongoing preparation of defense counsel)and the ends of justice

     Stipulation/Order                         2
                                              -2-
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1    outweigh the best interest of the public and the defendant in a speedy
2    trial based upon the factors set forth under 18 U.S.C §3161(h)(7)(A) and
3    (B) (ii) and (iv). Accordingly, time under the Speedy Trial Act shall be
4    excluded from the date of the parties stipulation, April 24, 2012, up to
5    and including May 18, 2012.
6         IT IS SO ORDERED.
7
8    Dated:    April 25, 2012
9
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12                                             _______________________________
                                               KENDALL J. NEWMAN
13                                             UNITED STATES MAGISTRATE JUDGE
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     Stipulation/Order                         3
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